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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR ) Civil Action
PRESIDENT, INC.; ef al., }
)
Plaintiffs, )
) No.: 2-20-CV-966
Vv. )
)
KATHY BOOCKVAR:; et al, y
)
Defendants. ) Judge J. Nicholas Ranjan

MOTION FOR ADMISSION PRO HAC VICE OF CHRISTINA L. HAUSNER

Christina L. Hausner, undersigned counsel for Defendant, Lancaster County Board of
Elections, hereby respectfully moves to be admitted to appear and practice in this Court in the
above-captioned matter as counsel pro hac vice in the above-captioned matter pursuant to
LCvR 83.2 and LCvR 83.3, and this Court's Standing Order Regarding Pre Hac Vice
Admissions dated May 31, 2006 (Misc. No. 06-151).

In support of this motion, undersigned counsel attaches the Affidavit for Admission
Pro Hac Vice of Christina L. Hausner filed herewith, which, it is averred, satisfies the
requirements of the foregoing Local Rules and Standing Order.

Respectfully submitted,

Dated: July 13, 2020 /Christina L. Hausner/
Bar ID No. 32373
Lancaster County Solicitor
150 North Queen Street, Suite #714
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Board of Elections

 

 
